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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

JENNIFER M. MEDLEY                               CIVIL ACTION

VERSUS                                           NO: 09-4570

LOUISIANA STATE DEPARTMENT                       SECTION: “J” (3)
OF JUSTICE

                          ORDER AND REASONS

     Before the Court are Defendant Louisiana State Department of

Justice’s (“LDOJ”) Motion for Summary Judgment (Rec. Doc. 96) and

Plaintiff Jennifer Medley’s (“Medley”) Opposition (Rec. Doc.

113), as well as Defendant’s Reply in Support (Rec. Doc. 118).

             PROCEDURAL HISTORY AND BACKGROUND FACTS

     LDOJ hired Plaintiff as an Assistant Attorney General in

June of 20041 at a starting salary of $40,000. At the time of her

hire, she had been admitted to practice law for a year and a half

in the state of Louisiana. Initially, she worked on civil rights

matters–her workload then shifted to workers’ compensation cases.

She remained with the LDOJ until September 4, 2009, when she

resigned to accept other employment. During her employment,

Plaintiff received five salary increases, which ranged from three

percent to six percent of her salary. By the time she left LDOJ,

her salary had increased $10,000—from $40,000 to $50,000.



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       In her Opposition, Plaintiff writes that she started her
employment with LDOJ on July 7, 2004. (Rec. Doc. 113 at 2.)
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     Plaintiff’s last salary increase was effective on April 7,

2008. On April 22, 2008, Plaintiff submitted a request for a cost

of living adjustment, seeking an increase in salary to $60,000.

Her stated reasons did not include references to her performance.

On November 2, 2008, Plaintiff filed an EEOC complaint, alleging

that she was “paid less than similarly situated employees” and

that she believed she was “being discriminated against in

violation of Title VII of the Civil Rights Act of 1964, as

amended, because of [her] sex, female, and [her] race, Black.” On

December 3, 2008, the LDOJ provided its response to the charge of

discrimination, denying that Plaintiff was paid less than

similarly situated employees and denying that she had been

discriminated against because of her race or gender. On May 28,

2009, the U.S. Department of Justice, Civil Rights Division,

issued a Notice of Right to Sue letter.

     Plaintiff Medley filed an original complaint on July 29,

2009, asserting claims under the Civil Rights Act of 1964, 42

U.S.C. §2000e-5. (Rec. Doc. 1.) Plaintiff then filed a First

Amended   Complaint on August 26, 2009, again under the Civil

Rights Act of 1964. (Rec. Doc. 6.) Both complaints allege that

LDOJ discriminated against Plaintiff by engaging in

“discriminatory wage practices based on race and/or gender.”

(Rec. Doc. 1 at 4 & Rec. Doc. 6 at 4.)

     Plaintiff also filed a Motion to File Second Amended


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Complaint on November 11, 2009, which would have added claims of

retaliation. (Rec. Doc. 18.) Magistrate Judge Knowles denied

Plaintiff’s Motion on January 4, 2010 (Rec. Doc. 36), explaining

that “courts in this judicial district are in near-unanimous

agreement that no claim for retaliation for employment

discrimination exists under Louisiana law since the 1997

amendment” and that “any amendment on Medley’s part to add a

retaliation claim under Louisiana state law would be futile.”

(Rec. Doc. 36 at 7.) After Plaintiff filed objections to this

Order (Rec. Doc. 37), the Court affirmed the Order denying

Plaintiff’s Motion to File Second Amended Complaint. (Rec. Doc.

42.) Plaintiff filed a Second Motion to File a Second Amended

Complaint on March 8, 2010 (Rec. Doc. 39), which was similarly

denied (Rec. Doc. 43) for reasons including Plaintiff’s failure

to exhaust administrative remedies. The Court subsequently denied

Plaintiff’s Motion for Reconsideration of the Magistrate Judge’s

Order. (Rec. Doc. 54, denying Rec. Doc. 45.)

                            PLAINTIFF’S CLAIMS

A.    Plaintiff’s Retaliation Claims Alleged in her Opposition

      As discussed above, the issue of whether Plaintiff can bring

claims of retaliation has been thoroughly reviewed by the Court.

Accordingly, although Plaintiff begs the Court yet again in the

her Opposition to review her claims of retaliation, the Court

declines to do so for the reasons already provided by the Court.


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B.    Plaintiff’s Hostile Work Environment and Constructive

      Discharge Claims Alleged in her Opposition

      Plaintiff also alleges brand-new claims of hostile work

environment and constructive discharge in her Opposition, neither

of which were included in her Complaint or First Amended

Complaint. The Court has the ability to allow parties to make

amendments to pleadings under Fed. R. Civ. Pro. 15. However,

after evaluating Plaintiff’s proposed expansion using the

equitable factors enumerated by the Fifth Circuit, the Court

declines to allow Plaintiff to add claims of hostile work

environment and constructive discharge at this point in the

litigation. See Ellis v. Liberty Life Assurance Co. of Boston,

394 F.3d 262, 268 (5th Cir. 2004). In Ellis, the Fifth Circuit

explained that courts may consider factors including “(1) undue

delay; (2) bad faith; (3) dilatory motive on the part of the

movant; (4) repeated failure to cure deficiencies by any

previously allowed amendment; (5) undue prejudice to the opposing

party; and (6) futility of amendment.” Id.

      As previously discussed, Plaintiff is well-aware of the

process of amending her complaint. Plaintiff did not mention

claims of hostile work environment or constructive discharge in

her Complaint or First Amended Complaint–nor did she in her

failed Second Amended Complaint. Interestingly, in her First

Amended Complaint, Plaintiff Medley wrote, “At all pertinent

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times, Medley enjoyed the ability to make and enforce contracts,

including that of employment and working in a non-racially

hostile environment within the meaning and intent of 42 U.S.C. §

1981, as amended.” (Rec. Doc. 6 at 3.) Plaintiff’s failure to

allege claims of hostile work environment and constructive

discharge earlier is particularly troubling as her claims are not

based on information obtained through discovery, but rather

primarily on her own sworn declaration. (See Rec. Doc. 113 at 32-

36.) Furthermore, adding other claims at this point would cause

delay and undue prejudice to the Defendant. Using the Ellis

factors, the Court refuses to exercise its discretion to allow

Plaintiff to make these new allegations now.

     Notwithstanding the Court’s decision not to entertain these

allegations, Plaintiff has not alleged meritorious hostile work

environment and constructive discharge claims. To support her

claims, Plaintiff cites to the following instances: (1) after

Plaintiff emailed the office to ask a legal question, her

superior “replied-all” and told her to look up the question

herself; (2) following this email exchange, a loud conversation

ensued between the two of them in Plaintiff’s office during which

Plaintiff’s superior told her she was crazy; (3) Plaintiff

Medley, along with at least one other attorney, worked “half a

city block away” from the nearest common printer; (4) from

November 2008 until early May 2009, her superior walked passed


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her office several times a day, every day, and stuck his head in

her office when he passed; (5) her superior’s assistant read

through Plaintiff’s work emails; and (6) Plaintiff’s workload

switched from civil rights cases to employment litigation cases.

     In analyzing claims alleging a racially hostile working

environment, courts must consider “the frequency of the

discriminatory conduct; its severity; whether it is physically

threatening or humiliating, or a mere offensive utterance; and

whether it unreasonably interferes with an employee’s work

performance.” Ramsey v. Henderson, 286 F.3d 264, 268 (5th Cir.

2002) (citation omitted). Only when the workplace is “permeated

with ‘discriminatory intimidation, ridicule and insult’ that is

‘sufficiently severe or pervasive to alter the conditions of the

victim’s employment and create an abusive working environment,’

Title VII is violated.” National R.R. Passenger Corp. v. Morgan,

536 U.S. 101, 116 (2002) (citing Harris v. Forklift Systems,

Inc., 510 U.S. 17, 21 (1993)). Conduct “that is not severe or

pervasive enough to create an objectively hostile or abusive work

environment–an environment that a reasonable person would find

hostile or abusive–is beyond Title VII's purview.” Harris, 510

U.S. at 21.

     The Fifth Circuit has noted that general allegations of

discrimination or harassment should not be considered; instead, a

court should only consider the specific allegations of the


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Plaintiff. Mosley v. Marion County, Miss., No. 04-60192, 2004 WL

2244260, at *1 (5th Cir. Oct. 5, 2004) (refusing to consider

general allegations of discrimination); Wallace v. Texas Tech.

Univ., 80 F.3d 1042, 1049 (5th Cir. 1996) (finding that a general

allegation of racist remarks was insufficient to establish prima

facie claim of hostile work environment). Title VII does not

forbid “all verbal or physical harassment in the workplace”; it

targets only discrimination because of plaintiff’s protected

status.” Williams v. Gonzales, No. Civ. A. 104CV342, 2005 WL

3447885, at *15 (E.D. Tex. Dec. 14, 2005) (citation omitted).

Plaintiff must show that “but for” her race or gender, she would

have experienced a different workplace. Merriell v. Slater, No.

Civ. A. 97-0800, 1998 WL 88857, at *5 (E.D. La. Feb. 27, 1998).

     Here, Plaintiff has not pointed to sufficient evidence in

the record to establish that a reasonable person would find the

environment at LDOJ to be hostile or abusive. Plaintiff complains

of a couple of isolated incidents, her walk to the printer, and

her superior’s practice of walking past her office. And yet it

does not appear that these instances were sufficiently severe or

pervasive to alter the conditions of the Plaintiff’s employment

and create an abusive working environment. Moreover, Plaintiff’s

allegations do not reveal that Plaintiff was subjected to

harassment because of her race or gender.




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      Plaintiff acknowledges that a claim for constructive

discharge “requires a greater degree of harassment than that

required by a hostile environment claim.” (Rec. Doc. 113 at 35.)

Because the Court is not persuaded that Plaintiff has alleged

meritorious hostile work environment claims, it follows that the

Court is also not persuaded that Plaintiff has alleged

meritorious constructive discharge claims.

      Again, the Court will not consider the Plaintiff’s claims

for hostile work environment or constructive discharge, but even

if it did, the Court does not find that Plaintiff has alleged

meritorious claims. Accordingly,          the Court will address only

Plaintiff’s discrimination claims presented in her original

Complaint and First Amended Complaint.

C.    Plaintiff’s Discrimination Claims

      1.    Parties’ Arguments

      Defendant argues that Plaintiff cannot carry her burden of

proof with respect to her discrimination claims, as she cannot

establish a prima facie case of disparate pay based on race or

gender. To make out a prima facie case of discrimination under

Title VII, Defendant explains, an employee must show that she was

a member of a protected class, that she was denied a benefit,

that she was qualified for the benefit, and that an employee

outside the class received the benefit. McDonnell Douglas, Corp.

v. Green, 411 U.S. 792, 802-03 (1973). According to Defendant

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then, Plaintiff must show that she occupied a position similar to

white employees and to male employees who were compensated at a

higher rate.

     Defendant explains that because Plaintiff has not provided

direct testimony from LDOJ employees as to discriminatory intent,

Plaintiff must prove discrimination using circumstantial

evidence. Under the McDonnell Douglas framework, Plaintiff must

first establish a prima facie case of discrimination. If

Plaintiff is successful, the burden shifts to Defendant to

provide a legitimate, nondiscriminatory reason for its action,

and if Defendant does, then Plaintiff must offer evidence that

the proffered reason is a pretext for discrimination. 411 U.S. at

802-04. In establishing a prima facie case of discrimination,

Defendant explains that Plaintiff must show that she was “paid

less than a member of a different race was paid for work

requiring substantially the same responsibility.” Pittman v.

Hattiesburg Mun. Separate Sch. Dist., 644 F.2d 1071, 1074 (5th

Cir. 1981); see also Uviedo v. Steves Sash & Door Co., 738 F.2d

1425, 1431 (5th Cir. 1984).

     Defendant argues that Plaintiff cannot meet her burden to

establish a prima facie case of discrimination. Plaintiff has

identified six attorneys employed by the LDOJ whose level of pay

allegedly exceeded hers–Phyllis Glazer (white female), Kelly

Badeaux-Phillips (white female), Anthony Winters (black male),


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Matthew Derbes (white male), Michael Menasco (white male) and

John Sudderth (white male). However, Plaintiff only identifies

three attorneys to whom she is similarly situated–Matthew Derbes

(white male), Michael Menasco (white male), and Tanya Irvin

(black female). (Rec. Doc. 96, Ex. K, Resp. to Interrog. 9.)

     Defendant methodically evaluates each of the attorneys

identified by Plaintiff and finds that Plaintiff has failed to

establish a prima facie case of discrimination. Namely, Plaintiff

has failed because the named employees were either (1) not a

member of a different race; (2) not paid more than Plaintiff; (3)

not similarly situated; or (4) not performing substantially the

same job.

     First, Defendant explains that Anthony Winters and Tanya

Irvin are not members of a different race. Although Plaintiff

described Anthony Winters as a white attorney, Winters identified

himself as a black attorney on LDOJ personnel forms. (Rec. Doc.

96, Ex. L.) Defendant also points out that Plaintiff has supplied

the Court with an example of a member of her own race whose

salary is greater than her own–Winters’ starting salary in 2006

was $41,000. Tanya Irvin, also identified by Plaintiff, is

another LDOJ black attorney. Although Irvin had a starting salary

of $50,000 in 2009, Defendant explains that this was as a result

of her years of prior legal experience. (Rec. Doc. 96, Ex. B

(showing that Irvin started at the LDOJ in 2009 and was admitted

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to the bar in 2002).) Accordingly, because these attorneys were

also African American, Defendant contends that the Court should

not consider these two attorneys in determining whether Plaintiff

established a prima facie case.

     Next, Defendant argues that for the majority of Plaintiff’s

employment, Plaintiff actually earned more than Phyllis Glazer, a

white female attorney whom Plaintiff has identified as a white

attorney earning more than she. Glazer was hired approximately

fifteen months after Plaintiff, and began at the same starting

salary–$40,000. Because Plaintiff had already received an across-

the-board increase, Plaintiff earned more than Glazer earned when

Glazer began at LDOJ. Only when Glazer received a merit increase

of $5,000 in January of 2008 upon receiving a competitive job

offer did Glazer earn more than Plaintiff. Therefore, Defendant

explains that for the first two and a half years of Glazer’s

employment, Plaintiff actually earned more than Glazer.

Accordingly, Defendant concludes that Plaintiff does not

establish a prima facie case by providing Glazer as an

example–rather, Glazer’s salary actually shows that at several

times, LDOJ was paying Plaintiff, a black attorney, more than

Glazer, a white attorney.

     Thirdly, Defendant argues that Plaintiff was not similarly

situated to Kelly Badeaux-Phillips, Michael Menasco, or John

Sudderth in that Plaintiff had far less prior legal experience


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than these other attorneys did when they began at LDOJ. When LDOJ

hired Plaintiff, she had a year and a half of prior legal

experience; whereas Badeaux-Phillips had five and a half years of

prior legal experience, Menasco had five and a half years of

prior legal experience, and Sudderth had twelve years of prior

legal experience. As such, Defendant contends that Plaintiff was

not similarly situated to these attorneys. Although Plaintiff

identified Tanya Irvin as a similarly situated attorney,

Defendant explains that not only is Irvin black (and therefore

not relevant to Plaintiff’s establishing a prima facie case), but

Irvin is not similarly situated to Plaintiff because she had six

years of prior legal experience.

     Fourthly, Defendant asserts that Plaintiff did not perform

the same job as Matthew Derbes or Anthony Winters. LDOJ hired

Derbes as an Assistant Attorney General in the Criminal Division

in 2006 at a starting salary of $50,000 based on his prior legal

experience as a chief prosecutor with the Orleans Parish District

Attorney’s Office. Defendant argues that attorneys in the

Criminal Division need a set of specialized skills to prosecute

criminal cases and that therefore attorneys in the Criminal

Division are not similarly situated to attorneys in the

Litigation Department in which Plaintiff worked. Additionally,

although Defendant believes that the Court should not consider

Plaintiff’s identification of Anthony Winters as he is also a


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black attorney, Winters worked in the Gaming Division, another

area of LDOJ that requires attorneys to have a specialized

working knowledge of gaming and gaming law. Defendant contrasts

the work done by Derbes and Winters with that done by

Plaintiff–Plaintiff’s area required no specialized knowledge of

any particular area of law.

     Additionally, Defendant provides details on other black

attorneys employed by LDOJ who earned more than Plaintiff,

further refuting the allegations of discrimination–Defendant

employed Pauline Feist (black female) who had a starting salary

of $45,000 in 2001, Sharon Florence (black female) who had a

starting salary of $50,000 in 2009, Kevin Hill (black male) who

had a starting salary of $60,000 in 2008, and Tanya Irvin (black

female) who had a starting salary of $50,000 in 2009.

     Ergo, Defendant concludes that Plaintiff has failed to show

that she was “paid less than a member of a different race was

paid for work requiring substantially the same responsibility.”

Pittman v. Hattiesburg Mun. Separate Sch. Dist., 644 F.2d 1071,

1074 (5th Cir. 1981). Although Defendant maintains that Plaintiff

cannot establish a prima facie case, Defendant argues that even

if she did, Defendant can articulate legitimate, non-

discriminatory reasons for paying non-black attorneys more than

it paid Plaintiff. Defendant points to the differences in prior

legal experience and the different skill sets needed in the


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Criminal and Gaming divisions. Defendant also explains that merit

increases are within the discretion of the Attorney General, and

that other employees were more deserving of these increases than

Plaintiff. If the Court had found that Plaintiff did establish a

prima facie case of discrimination, Defendant argues that it

could shift the burden back to Plaintiff to show that Defendant’s

reasons were merely pretexts for discrimination. Defendant

submits that Plaintiff is and will be unable to do so.

     Lastly, Defendant addresses Plaintiff’s gender

discrimination claim. Defendant argues that Plaintiff has

effectively disproven her own claim of disparate pay based on

gender in her attempt to establish a prima facie case of

disparate pay based on race–namely, in identifying for the Court

Phyllis Glazer and Kelly Badeaux-Phillips (both white female

attorneys). Defendant explains that Badeaux-Phillips was hired in

2005 with a starting salary of $52,000 based on her almost six

years of prior legal experience. The fact that Badeaux-Phillip’s

(also a member of the same protected gender class) starting

salary was higher than Plaintiff’s rate of pay refutes the claim

that LDOJ engaged in discriminatory wage practices based on

gender. Similarly, Defendant argues that the fact that at some

points Glazer earned more than Plaintiff also refutes Plaintiff’s

gender discrimination claim.




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     With respect to Plaintiff’s gender discrimination claim,

Defendant also provides the Court with examples of male attorneys

who earned the same as or less than Plaintiff–Alan Alario II was

hired in 2006 with a starting salary of $40,000, Philbert

Grinstead was hired in 2004 at a rate of $35,000, and Frank

LaBruzzo was hired in 2005 with a starting salary of $40,000.

Because Plaintiff has not established prima facie cases for

either of her discrimination claims, Defendant requests that the

Court grant summary judgment in its favor.

     In response, Plaintiff cites to general statistics about

salaries paid to black and white attorneys, which show that black

attorneys, and specifically black females, were paid lower

salaries then their white counterparts. She also cites to the pay

differential between her and Michael Menasco as evidence of

discrimination–Menasco, a white attorney, earned $4,000 more than

Plaintiff although barred at the same time as Plaintiff.

Plaintiff points to Phyllis Glazer, a white attorney, who asked

for and received an additional salary increase when LDOJ

repeatedly told Plaintiff that there were no funds in the budget

for raises. Plaintiff argues that “[g]iven her time, experience

and performance evaluations . . . , there exists no rationale for

Glazer’s rate of pay other than race discrimination.”

     Plaintiff also directs the Court’s attention to John

Sudderth, who was given a raise despite being disciplined for


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ethical shortcomings in connection to his work, and to Kelly

Badeaux-Phillips, who was also given a raise. Lastly, Plaintiff

mentions that Anthony Winters, a black male, was barred after

Plaintiff but hired at a higher rate of pay.

     2.   Discussion

     Summary judgment is appropriate when “the pleadings, the

discovery and disclosure materials on file, and any affidavits

show that there is no genuine issue as to any material fact and

that the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(c)(2); Celotex Corp. v. Catrett, 477 U.S. 317, 322-

23 (1986); Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th

Cir. 1994). When assessing whether a dispute as to any material

fact exists, the Court considers “all of the evidence in the

record but refrains from making credibility determinations or

weighing the evidence.” Delta & Pine Land Co. v. Nationwide

Agribusiness Ins. Co., 530 F.3d 395, 398 (5th Cir. 2008). All

reasonable inferences are drawn in favor of the nonmoving party,

but a party cannot defeat summary judgment with conclusory

allegations or unsubstantiated assertions. Little, 37 F.3d at

1075. A court ultimately must be satisfied that “a reasonable

jury could not return a verdict for the nonmoving party.” Delta,

530 F.3d 399.

     If the dispositive issue is one on which the moving party

will bear the burden of proof at trial, the moving party “must


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come forward with evidence which would ‘entitle it to a directed

verdict if the evidence went uncontroverted at trial.’” Int’l

Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257, 1263-64 (5th

Cir. 1991) (citation omitted). The nonmoving party can then

defeat the motion by either countering with sufficient evidence

of its own, or “showing that the moving party’s evidence is so

sheer that it may not persuade the reasonable fact-finder to

return a verdict in favor of the moving party.” Id. at 1265.

     If the dispositive issue is one on which the nonmoving party

will bear the burden of proof at trial, the moving party may

satisfy its burden by merely pointing out that the evidence in

the record is insufficient with respect to an essential element

of the nonmoving party's claim. See Celotex, 477 U.S. at 325. The

burden then shifts to the nonmoving party, who must, by

submitting or referring to evidence, set out specific facts

showing that a genuine issue exists. See id. at 324. The

nonmovant may not rest upon the pleadings, but must identify

specific facts that establish a genuine issue for trial. See,

e.g., id. at 325; Little, 37 F.3d at 1075.

     Defendant is correct in explaining that in order to make out

a prima facie case of discrimination under Title VII, an employee

must show that she was a member of a protected class, that she

was denied a benefit, that she was qualified for the benefit, and

that an employee outside the class received the benefit.


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McDonnell Douglas, Corp. v. Green, 411 U.S. 792, 802-03 (1973).

Accordingly, Plaintiff must show that she occupied a position

similar to white employees and to male employees who were

compensated at higher rates. Under the McDonnell Douglas

framework, if Plaintiff is successful in establishing a prima

facie case of discrimination, the burden shifts to the Defendant

to provide a legitimate, nondiscriminatory reason for its action.

If Defendant does, then Plaintiff must offer evidence that the

proffered reason is a pretext for discrimination. 411 U.S. at

802-04.

     Although Plaintiff filed a Motion for Leave to File Excess

Pages in Opposition (Rec. Doc. 111), Plaintiff does little to

actually respond directly to Defendant’s arguments. She spends

the majority of her Opposition explaining her discontent with the

job and her dissatisfaction with her salary. Although it is clear

that Plaintiff was unhappy during the course of her employment at

LDOJ, she falls short of meeting her burden.

     Plaintiff cites to general statistics about salaries–which

are meaningless without giving context as to whom these attorneys

were. In establishing a prima facie case of discrimination,

Plaintiff must show that she was “paid less than a member of a

different race was paid for work requiring substantially the same

responsibility.” Pittman v. Hattiesburg Mun. Separate Sch. Dist.,

644 F.2d 1071, 1074 (5th Cir. 1981); see also Uviedo v. Steves


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Sash & Door Co., 738 F.2d 1425, 1431 (5th Cir. 1984). Plaintiff

does not demonstrate to the Court that these attorneys were doing

“work requiring substantially the same responsibility,” and

accordingly does not meet her burden to establish a prima facie

case of discrimination by presenting the Court with this list.

     Plaintiff only offers five attorneys in her Opposition2 to

demonstrate to the Court that she was discriminated against on

the basis of her race and gender–Michael Menasco (white male),

Phyllis Glazer (white female), John Sudderth (white male), Kelly

Badeaux-Phillips (white female), and Anthony Winters (black

male). In addition to showing that these attorneys were outside

her protected class and received higher pay, Plaintiff must also

show that these attorneys were similarly situated to her.

McDonnell Douglas, 411 U.S. at 802. With respect to Menasco,

Sudderth, Badeaux-Phillips and Winters, Plaintiff has not carried

her prima facie burden in demonstrating that she was similarly

situated to these attorneys.

     The Fifth Circuit has explained that in order for an

employees to be similarly situated, employees should be in

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       The other two attorneys mentioned by Plaintiff in her
Interrogatories were Matthew Derbes (white attorney) and Tanya
Irvin (black female). Tanya Irvin is not a member outside
Plaintiff’s protected class and thus irrelevant to Plaintiff’s
establishing a prima facie case. The Court finds that Derbes is
not similarly situated to Plaintiff, as he served in the Criminal
Division (which required specialized skills) and had prior
experience as a chief prosecutor with the Orleans Parish District
Attorney’s Office.

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“nearly identical” situations. Lee v. Kansas City Southern Ry.

Co., 574 F.3d 253, 259 (5th Cir. 2009). Accordingly, employees

“with different supervisors, who work for different divisions of

a company,” or “who have different work responsibilities” would

not be similarly situated. Id. at 259-60. Conversely, “when

employees being compared held the same job or responsibilities

[or] shared the same supervisor or had their employment status

determined by the same person,” courts should consider them

similarly situated for the purposes of Title VII analysis. Id. at

260.

       LDOJ has provided evidence to show that Menasco, Sudderth,

and Badeaux-Phillips all had significantly more prior legal

experience at the time they were hired by LDOJ than Plaintiff did

when she began her employment at LDOJ. Plaintiff has not even

presented the Court with an argument that despite these

disparities in experience, these attorneys were similarly

situated. Accordingly, Plaintiff does not carry her burden to

establish a prima facie case of discrimination by identifying

these attorneys.

       With respect to Winters, not only is he a black attorney

(and thus not helpful to Plaintiff in establishing a prima facie

case of race discrimination), Plaintiff has also not shown that

she is similarly situated to Winters. Winters is an attorney in

the Gaming Division, which LDOJ explains requires a set of


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specialized gaming knowledge. Winters and Plaintiff have

different work responsibilities and work in different divisions

of LDOJ–accordingly, they were not similarly situated for the

purposes of a gender discrimination claim. By identifying

Winters, Plaintiff also falls short of establishing a prima facie

case of discrimination. Further, because Winters, Menasco, and

Sudderth, the only male attorneys identified by Plaintiff, are

not similarly situated to Plaintiff, Defendant is entitled to

summary judgment on Plaintiff’s gender discrimination claims.

     Lastly, Plaintiff offers the example of Phyllis Glazer, a

white attorney. Plaintiff does not dispute Defendant’s assertion

that Glazer was hired fifteen months after Plaintiff at a

starting salary of $40,000, and that for over two years,

Plaintiff actually earned more than Glazer earned (because

Plaintiff had already received an across-the-board increase when

Glazer began). However, Glazer did receive a merit increase of

$5,000 in January of 2008, and from that point forward, Glazer

did earn more than Plaintiff. Viewing the facts in the light most

favorable to Plaintiff, she establishes a prima facie case of

race discrimination by her identification of Glazer:(1) Plaintiff

is a member of a protected class–she was a black attorney; (2)

Plaintiff was denied a raise over and above her across-the-board

increases paid to all attorneys; (3) Plaintiff alleges that she

was qualified for the raise and presented the Court with


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favorable recommendation letters;3 and (4) an employee outside

her protected class, Glazer, received a raise. Under McDonnell

Douglas, the burden then shifts to the Defendant to provide a

non-discriminatory motive for giving Glazer a merit raise. 411

U.S. at 802-04.    Defendant has done so–Defendant explains that it

gave Glazer a $5,000 merit raise when Glazer received a

competitive job offer.

     Because Defendant has articulated a nondiscriminatory

motive, the burden shifts back to Plaintiff to show that the

Defendant’s motive is merely a pretext for discrimination. Id.

Plaintiff has failed to do so. Instead, she baldly asserts that

“[g]iven [Plaintiff’s] time, experience and performance

evaluations . . . , there exists no rationale for Glazer’s rate

of pay other than race discrimination.” However, Plaintiff is

mistaken. Defendant has provided another rationale to justify

giving Glazer a raise in lieu of giving Plaintiff a raise.

Plaintiff cannot carry her burden with mere allegations. Little,

37 F.3d at 1075 (explaining that a party cannot defeat summary

judgment with conclusory allegations).

     In sum, Plaintiff has not established a prima facie case of

discrimination by her identification of Menasco, Sudderth,

Badeaux-Phillips, or Winters–as these attorneys are not similarly


     3
       Defendant maintains that Plaintiff was not qualified for a
merit increase.

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situated to Plaintiff. Even if Plaintiff does establish a prima

facie case of race discrimination by her identification of

Glazer, Defendant has provided a valid, non-discriminatory motive

to give Glazer a merit raise in lieu of Plaintiff. Plaintiff now

has the burden of showing that Defendant’s motive was merely a

pretext for discrimination, and she has failed to carry that

burden. Defendant is therefore entitled to summary judgment on

Plaintiff’s race discrimination claims.

     Accordingly, IT IS ORDERED that the Defendant’s Motion for

Summary Judgment (Rec. Doc. 96) is GRANTED.

     New Orleans, Louisiana, this 21st day of October, 2010.




                                  _____________________________
                                  CARL J. BARBIER
                                  UNITED STATES DISTRICT JUDGE




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